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           United States District Court for the District of Maryland

United States of America                    *

      v.                                    *       Crim. No. 1:16-cr-00484-JKB-2

Bohl, et al.                                *
      [Rozlyn Bratten]

              Motion to Suppress Tangible and Electronic Evidence

      Pursuant to Fed. R. Crim. P. 12(b)(3)(C) and U.S. Const. amend IV, and

defendant Rozlyn Bratten moves to moves to suppress tangible and electronic

evidence, because these were taken as a result of an illegal searches and seizures by

government agents. In support she states:

      1.      Government agents searched Ms. Bratten’s home and seized a laptop, a

cell phone, and papers including a diary.

      2.      Government agents also searched the electronic files on the laptop and

cell phone.

      3.      While the government claims to have searched Ms. Bratten’s home and

seized a laptop, a cell phone, and papers pursuant to a warrant, the Affidavit relies

on the Indictment (Doc. 1) which fails to allege a crime in Count One. See, S.A. Karen

Franks’ Affidavit of in Support of Search Warrant dated Oct. 3, 2016 at paragraph 8;

App’x A.

      4.      No RICO enterprise is properly defined and identified.

      5.      Nor can anyone say whether Ms. Bratten knew and intentionally agreed

with another person to conduct or participate in the affairs of an unidentified
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enterprise, or whether each defendant knowingly and willfully agreed that he or some

other member of the conspiracy would commit at least two racketeering acts.

      6.       Agent Franks alleges that Ms. Bratten was smuggling, because other

people, some of whom Franks identified, and more of whom she did not, said so.

Franks’ Affidavit dated Oct. 3, 2016 at paragraph 11 – 16.

      7.       While the government claims to have searched Ms. Bratten’s laptop and

cell phone pursuant to a warrant, that purported Affidavit has not been signed and

the date has been changed from Mar., 2014 to Dec., 2016. See, App’x B at page 25.

      8.       Even if the Affidavit were signed and dated, it relies on the flawed prior

warrant. See, App’x B at paragraph 34.

      9.       Apparently, Agent Franks alleges that Ms. Bratten was smuggling,

because unidentified people said so. See, App’x B at paragraph 28 – 34.

      10.      There is no indication that any of the unidentified people are reliable.

      11.      The judicial officer had no ability to evaluate the source of the

information.

      12.      Nor did the judicial officer have the ability to evaluate the adequacy of

factual premises furnished by the source(s) and whether they supported the validity

of the source(s) conclusion(s).

      13.      Considering that the government redacted five of the seven paragraphs

alleging probable cause to search Ms. Bratten’s laptop and cell phone, in this case it

is fundamentally unfair to require her to meet the rigorous threshold requirements

for a Franks hearing. Franks v. Delaware, 438 U.S. 154 (1978).
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                                  Legal Principles

I. Search & Seizure.

      The Fourth Amendment to the U.S. Constitution prohibits unreasonable

searches and seizures, and it requires probable cause for the issuance of warrants.

The test for probable cause is whether the facts presented to a judicial officer

establish a ‘substantial probability” that the items sought will be found at the location

to be searched. Illinois v. Gates, 462 U.S. 213 (1982).

      There are two independent bases on which to challenge whether a search and

seizure warrant was issued validly, which are 1) the underlying application and

affidavit, and 2) the source of information utilized in those documents. In Franks v.

Delaware, 438 U.S. 154 (1978), and its progeny, the Supreme Court established that

a defendant may challenge the truthfulness and completeness of the factual

statements made in the affidavit supporting a search and seizure warrant.             In

addition, the “fruit of the poisonous tree” doctrine provides that a defendant may

show that unlawfully obtained evidence was used to obtain a search and seizure

warrant.

      Franks requires the defendant to bear the burden of production regarding

alleged falsehood in a search warrant affidavit. The defendant must make “a

substantial preliminary showing that a false statement knowingly and intentionally,

or with reckless disregard for the truth, was included by the affiant in the warrant

affidavit, and if the allegedly false statement is necessary to the finding of probable

cause.” 438 U.S. at 155-56. If the defendant makes the required preliminary showing,
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then the Fourth Amendment requires a hearing at which the defendant must

establish 1) the allegation of perjury or reckless disregard for the truth by a

preponderance of the evidence and 2) that without the affidavit's false material, the

remaining content is insufficient to establish probable cause. A search warrant that

fails the second requirement must be voided and the fruits of the search excluded as

if the affidavit lacked probable cause on its face.

      The presumption of validity with respect to the affidavit supporting the search

warrant is a rebuttable presumption, Franks at 438 U.S. 171. The defendant must

provide an offer of proof that specifically indicates that portion of the warrant that is

false. The defendant should provide an affidavit or other reliable statement or

explain their absence.

      Franks applies as equally to facts that were omitted from the application and

affidavit, as it does to committed misstatements. United States v. Coakley, 899 F.2d

297 (4th Cir. 1990).

      The Supreme Court recognized limits to law enforcement’s “good faith” in

United States v. Leon, 468 U.S. 897 (1984). These are:

          1) When the judicial officer issuing the warrant was misled by an affidavit
             that the affiant knew was false or would have known was false except
             for his [or her] reckless disregard of the truth;
          2) When the magistrate wholly abandons his [or her] judicial role;
          3) When a warrant [is] based on an affidavit ‘so lacking in indicia of
             probable cause as to render official belief in its existence entirely
             unreasonable’; or

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          4) When the warrant is facially deficient (e.g., failing to particularize the
              place to be searched).
Id. at 923.


II. Suppression.

      If evidence is obtained illegally, then the question is whether it would have

been found by means without taint. If not, then the remedy is exclusion. Wong-Sun

v. United States, 371 U.S. 471 (1963).


III. Standing.

      A person has a legitimate expectation of privacy in her home that she owns

and has standing to raise this issue. Rakas v. Illinois, 439 U.S. 128 (1978). All items

found in her home enjoy “subjective expectation of privacy that society recognizes as

reasonable.” See Kyllo v. United States, 533 U.S. 27 (2001); United States v. Ciraolo,

476 U.S. 207 (1986); United States v. Stevenson, 396 F.3d 538 (4th Cir. 2005).


IV. Staleness.

      Time is a crucial element of probable cause. A valid search warrant may issue

only upon allegations of facts so closely related to the time of the issue of the warrant

as to justify a finding of probable cause at that time. United States v. McCall, 740

F.2d 1331, 1335–36 (4th Cir. 1984).




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                                     Argument

V. Law Enforcement Exceeded the Limits of “Good Faith.”

   A. The Judicial Officer Issuing the Warrant Was Misled by an Affidavit
      that the Affiant Knew Was False or Would Have Known Was False
      Except For Her Reckless Disregard of the Truth.

      Agent Franks alleged that Ms. Bratten was smuggling, because other people,

some of whom Franks identified as inmates, and more of whom she did not, said so.

Franks’ Affidavit dated Oct. 3, 2016 at paragraph 11 – 16. She ignored that inmates

have a powerful motive to lie, in the hope of shortening their sentences.

      Even if the Affidavit were signed and dated, it relies on the flawed prior

warrant. See, App’x B at paragraph 34.


   B. The Magistrate Wholly Abandoned His or Her Judicial Role.

      Agent Franks alleged that Ms. Bratten was smuggling, because other people,

some of whom Franks identified, and more of whom she did not, said so. Franks’

Affidavit dated Oct. 3, 2016 at paragraph 11 – 16.

      In the purported second Affidavit, apparently Agent Franks alleges that Ms.

Bratten was smuggling, because unidentified people said so. See, App’x B at

paragraph 28 – 34.

      There is no indication that any of the unidentified people are reliable.

      The judicial officer had no ability to evaluate the source of the information.

      Nor did the judicial officer have the ability to evaluate the adequacy of factual

premises furnished by the source(s) and whether they supported the validity of the

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source(s) conclusion(s).


   C. The Warrant Is Based on an Affidavit So Lacking in Indicia of
      Probable Cause as to Render Official Belief in Its Existence Entirely
      Unreasonable.

      While the government claims to have searched Ms. Bratten’s home and seized

a laptop, a cell phone, and papers pursuant to a warrant, the Affidavit relies on the

Indictment (Doc. 1) which fails to allege a crime in Count One. See, S.A. Karen

Franks’ Affidavit of in Support of Search Warrant dated Oct. 3, 2016 at paragraph 8;

App’x A.

      No RICO enterprise is properly defined and identified. Nor can anyone say

whether Ms. Bratten knew and intentionally agreed with another person to conduct

or participate in the affairs of an unidentified enterprise, or whether each defendant

knowingly and willfully agreed that he or some other member of the conspiracy would

commit at least two racketeering acts.

      Agent Franks alleges that Ms. Bratten was smuggling, because other people,

some of whom Franks identified, and more of whom she did not, said so. Franks’

Affidavit dated Oct. 3, 2016 at paragraph 11 – 16.

      While the government claims to have searched Ms. Bratten’s laptop and cell

phone pursuant to a warrant, that purported Affidavit has not been signed and the

date has been changed from Mar., 2014 to Dec., 2016. See, App’x B at page 25.

      Even if the Affidavit were signed and dated, it relies on the flawed prior

warrant. See, App’x B at paragraph 34. Apparently, Agent Franks alleges that Ms.

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Bratten was smuggling, because unidentified people said so. See, App’x B at

paragraph 28 – 34. There is no indication that any of the unidentified people are

reliable.

        The judicial officer had no ability to evaluate the source of the information. Nor

did the judicial officer have the ability to evaluate the adequacy of factual premises

furnished by the source(s) and whether they supported the validity of the source(s)

conclusion(s). While considerable deference is owed to the conclusion of the judicial

officer who signed the warrant, that deference does not preclude meaningful review

by the court. See, United States v. Feliz, 182 F.3d 82 (1st Cir. 1999).

        There are significant questions concerning the reliability of the various

cooperators, and their ability to observe Ms. Bratten, particularly at home. The

government has not alleged that anything was stored or brought directly from her

home.


   D. The Warrant Was Stale.

        The Indictment alleges two incidents of smuggling in or about 2015. One

Affidavit is dated Oct. 3, 2016. App’x A. On the other one the date has been changed

from Mar., 2014 to Dec., 2016. See, App’x B at page 25. Consequently, the Affidavits

additionally suffers from the problem of staleness. See, United States v. Charest, 602

F.2d 1015 (1st Cir. 1979). United States v. Hython, 443 F.3d 480 (6th Cir. 2006).




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VI. Conclusion.

      While the government claims to have searched Ms. Bratten’s home and seized

and searched her laptop, cell phone, and papers pursuant to warrants, in fact the

government did so in violation of the law. The laptop, cell phone, papers and data

should be suppressed.


                                Request for Hearing

      Pursuant to Loc. R. 105.6, defendant requests a hearing.


                                Table of Authorities

U.S. Const amend IV.

Franks v. Delaware, 438 U.S. 154 (1978).

Illinois v. Gates, 462 U.S. 213 (1982).

Kyllo v. United States, 533 U.S. 27 (2001).

Rakas v. Illinois, 439 U.S. 128 (1978).

United States v. Charest, 602 F.2d 1015 (1st Cir. 1979).

United States v. Ciraolo, 476 U.S. 207 (1986).

United States v. Coakley, 899 F.2d 297 (4th Cir. 1990).

United States v. Feliz, 182 F.3d 82 (1st Cir. 1999).

United States v. Hython, 443 F.3d 480 (6th Cir. 2006).

United States v. Leon, 468 U.S. 897 (1984).

United States v. McCall, 740 F.2d 1331 (4th Cir. 1984).

United States v. Stevenson, 396 F.3d 538 (4th Cir. 2005).

Wong-Sun v. United States, 371 U.S. 471 (1963).

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Fed. R. Crim. P. 12(b)(3)(C).

Loc. R. 105.6.


                                                                  /s/
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                                Certificate of Service

      I hereby certify that on this 6th day of June, 2017 a copy of the foregoing Motion

to Dismiss Count One was delivered electronically to Messrs. Leo Joseph Wise

(Leo.Wise@usdoj.gov), Robert Reeves Harding (robert.harding@usdoj.gov), and

Daniel Charles Gardner (daniel.gardner@usdoj.gov) Office of the United States’

Attorney, 36 South Charles Street, Fourth Floor, Baltimore, Maryland 21201.


                                                                  /s/
                                               William L. Welch, III




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